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 9                              UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12

13   CITY and COUNTY of SAN FRANCISCO,                Case No. 3:24-cv-02311-TSH
14                     Plaintiff,                     DEFENDANT CITY OF OAKLAND’S
                                                      REQUEST FOR JUDICIAL NOTICE IN
15   v.                                               SUPPORT OF MOTION FOR
                                                      SUMMARY JUDGMENT
16   CITY of OAKLAND and PORT OF OAKLAND,
                                                      Date: December 5, 2024
17                     Defendants.                    Time: 10 a.m.
                                                      Courtroom: E – 15th Floor
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     DEFENDANT CITY OF OAKLAND’S REQUEST FOR                                  3:24-cv-02311-TSH
     JUDICIAL NOTICE IN SUPPORT OF MOTION FOR
     SUMMARY JUDGMENT
       Case 3:24-cv-02311-TSH            Document 69-2         Filed 10/30/24      Page 2 of 2



 1           Pursuant to Federal Rule of Evidence 201(b)(2), Defendant City of Oakland respectfully

 2   requests that the Court take judicial notice of the following city ordinance identified below in

 3   support of its Motion to Dismiss Plaintiffs’ Complaint:

 4           1. City of Oakland Ordinance No. 3825 N.S., dated February 14, 1927 (Declaration of

 5               Christina Lum (“Lum Decl.”), Ex. 1);

 6           2. City of Oakland Ordinance No. 3826 N.S., dated February 14, 1927 (Lum Decl., Ex.

 7               2);

 8           3. Article VII of the Charter of the City of Oakland (Lum Decl., Ex. 3);

 9           4. “Property Owned by the Port of Oakland,” from Port of Oakland, Land Surveys and

10               Mapping, 530 Water Street, Oakland California, dated September 4, 2012 (Lum Decl.,

11               Ex. 4);

12           5. “Order Granting in Part and Denying in Part Motion to Dismiss,” from United States

13               District Court, Northern District of California, case no. 18-CV-03353-KAW, dated

14               October 5, 2018 (Lum Decl., Ex. 5).

15           Under Rule 201 of the Federal Rules of Evidence, the court may judicially notice “official

16   acts of the legislative, executive, and judicial departments of the United States”, and facts and

17   propositions that are not reasonably subject to dispute and are capable of immediate and accurate

18   determination by resort to sources of reasonably indisputable accuracy.” Gerritsen v. Warner Bros.

19   Entertainment Inc., 112 F.Supp.3d 1011, 1020 (2015). The court may also take judicial notice of

20   matters of public record. Vasserman v. Henry Mayo Newhall Memorial Hosp., 65 F.Supp.3d 932,

21   942 (2014); see also Mack v. South Bay Beer Distributors, Inc., 798 F.2d 1279, 1282 (9th Cir.

22   1986). For these reasons, judicially notice should be taken of the foregoing documents.

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24   Dated: October 30, 2024                 BARBARA J. PARKER, City Attorney

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                                       By:
26                                           Christina Lum, Deputy City Attorney
                                             Attorneys for Defendant,
27                                           CITY OF OAKLAND

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      DEFENDANT CITY OF OAKLAND’S REQUEST FOR                                               3:24-cv-02311-TSH
      JUDICIAL NOTICE IN SUPPORT OF MOTION FOR
      SUMMARY JUDGMENT
